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WEIL, GOTSHAL & MANGES LLP
767 Fifth Avenue
New York, New York 10153
Telephone: (212) 310-8000
Facsimile: (212) 310-8007
Ray C. Schrock, P.C.
Jacqueline Marcus
Garrett A. Fail
Sunny Singh

Proposed Attorneys for Debtors
and Debtors in Possession

UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK
----------------------------------------------------------------x
In re                                                          :
                                                               :       Chapter 11
SEARS HOLDINGS CORPORATION, et al.,                            :
                                                               :       Case No. 18-23538 (RDD)
                                                               :
                             1
                  Debtors.                                     :       (Jointly Administered)
----------------------------------------------------------------




1
  The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
number, are as follows: Sears Holdings Corporation (0798); Kmart Holding Corporation (3116); Kmart Operations
LLC (6546); Sears Operations LLC (4331); Sears, Roebuck and Co. (0680); ServiceLive Inc. (6774); A&E Factory
Service, LLC (6695); A&E Home Delivery, LLC (0205); A&E Lawn & Garden, LLC (5028); A&E Signature
Service, LLC (0204); FBA Holdings Inc. (6537); Innovel Solutions, Inc. (7180); Kmart Corporation (9500);
MaxServ, Inc. (7626); Private Brands, Ltd. (4022); Sears Development Co. (6028); Sears Holdings Management
Corporation (2148); Sears Home & Business Franchises, Inc. (6742); Sears Home Improvement Products, Inc.
(8591); Sears Insurance Services, L.L.C. (7182); Sears Procurement Services, Inc. (2859); Sears Protection
Company (1250); Sears Protection Company (PR) Inc. (4861); Sears Roebuck Acceptance Corp. (0535); Sears,
Roebuck de Puerto Rico, Inc. (3626); SRC Sparrow 1 LLC (None); SYW Relay LLC (1870); Wally Labs LLC
(None); Big Beaver of Florida Development, LLC (None); California Builder Appliances, Inc. (6327); Florida
Builder Appliances, Inc. (9133); KBL Holding Inc. (1295); KLC, Inc. (0839); Kmart of Michigan, Inc. (1696);
Kmart of Washington LLC (8898); Kmart Stores of Illinois LLC (8897); Kmart Stores of Texas LLC (8915);
MyGofer LLC (5531); Sears Brands Business Unit Corporation (4658); Sears Holdings Publishing Company, LLC.
(5554); Sears Protection Company (Florida), L.L.C. (4239); SHC Desert Springs, LLC (None); SOE, Inc. (9616);
SRC Sparrow 2 LLC (None); StarWest, LLC (5379); STI Merchandising, Inc. (0188); Troy Coolidge No. 13, LLC
(None); BlueLight.com, Inc. (7034); Sears Brands, L.L.C. (4664); Sears Buying Services, Inc. (6533); SRC O.P.
LLC (None); Kmart.com LLC (9022); Sears Brands Management Corporation (5365); SRC Facilities LLC (None);
and SRC Real Estate (TX), LLC (None). The location of the Debtors’ corporate headquarters is 3333 Beverly Road,
Hoffman Estates, Illinois 60179.




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                   NOTICE OF FILING OFCONSOLIDATED LIST OF
              CREDITORS HOLDING THE 40 LARGEST UNSECURED CLAIMS

                    PLEASE TAKE NOTICE that Sears Holdings Corporation and its debtor

affiliates, as debtors and debtors in possession in the above-captioned chapter 11 cases

(collectively, the “Debtors” and, together with their non-debtor affiliates, the “Company”), each

filed a voluntary petition for relief under chapter 11 of title 11 of the United States Code (the

“Bankruptcy Code”) on October 15, 2018. The following is the consolidated list of the Debtors’

creditors holding the 40 largest unsecured claims (the “Consolidated List”) based on the

Debtors’ books and records as of October 11, 2018. The Consolidated List was prepared in

accordance with Rule 1007(d) of the Federal Rules of Bankruptcy Procedure for filing in these

chapter 11 cases. The Consolidated List does not include (1) persons who come within the

definition of “insider” set forth in 11 U.S.C. § 101 or (2) secured creditors unless the value of the

collateral is such that the unsecured deficiency places the creditor among the holders of the 40

largest unsecured claims on a consolidated basis. None of these creditors is a minor child. The

information contained herein shall not constitute an admission of liability by, nor is it binding on,

the Debtors. The information herein, including the failure of the Debtors to list any claim as

contingent, unliquidated or disputed, does not constitute a waiver of the Debtors’ right to contest

the validity, priority or amount of any claim at any later point as they deem appropriate.




                                                   2
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     Fill in this information to identify the case:

     Debtor name:  Sears Holdings Corporation et al.,
     United States Bankruptcy Court for the: Southern District of New York
                                                                                (State)
     Case number 18-23538 (RDD) (Jointly Administered)




    Official Form 204
    Chapter 11 or Chapter 9 Cases: Consolidated List of Creditors
    Who Have the 40 Largest Unsecured Claims and Are Not Insiders
                                                                                                                                                                           12/15

    A list of creditors holding the 40 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the debtor
    disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not include claims by
    secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor among the holders of the 40
    largest unsecured claims.
Name of creditor and complete mailing             Name, telephone number, and email          Nature of the       Indicate if   Amount of unsecured claim
address, including zip code                       address of creditor contact                  claim (for         claim is     If the claim is fully unsecured, fill in only unsecured
                                                                                             example, trade     contingent,    claim amount. If claim is partially secured, fill in
                                                                                               debts, bank     unliquidated,   total claim amount and deduction for value of
                                                                                                  loans,        or disputed    collateral or setoff to calculate unsecured claim.
                                                                                              professional
                                                                                              services, and
                                                                                              government
                                                                                                contracts)
                                                                                                                               Total claim,      Deduction for     Unsecured claim
                                                                                                                               if partially      value of
                                                                                                                               secured           collateral or
                                                                                                                                                 setoff
1     The Pension Benefit Guaranty Corporation    Attn.: Judith Starr, General Counsel      Pension Benefits                                                              Unliquidated
      Attn.: Judith Starr, General Counsel        Office of the Chief Counsel
      Office of the Chief Counsel                 Phone: 202-326-4400 x3083
      1200 K Street, N.W., Suite 300              Email: Starr.Judith@pbgc.gov
      Washington District of Columbia 20005-
      4026
2     SRAC Medium Term Notes                      Attn.: Mary A. Callahan, Vice President      Unsecured                                                            $2,311,796,000.00
      c/o The Bank of New York Mellon Trust Co.   Phone: 312-827-8546                            Notes
      Attn.: Mary A. Callahan, Vice President     Email: mary.callahan@bnymellon.com
      2 N. LaSalle Street, Suite 700
      Chicago, Illinois 60602

3     Holdings Unsecured Notes (8.00%)            Attn.: Michael A. Smith, Vice President      Unsecured                                                              $410,956,500.00
      c/o Computershare Trust Company, N.A.       - Corporate Trust                              Notes
      Attn.: Michael A. Smith, Vice President     Phone: 303-262-0707
      2950 Express Drive South, Suite 210         Email:
      Islandia, New York 11749                    michael.smith2@computershare.com

4     Holdings Unsecured PIK Notes (8.00%)        Attn.: Michael A. Smith, Vice President      Unsecured                                                              $222,580,652.00
      c/o Computershare Trust Company, N.A.       - Corporate Trust                              Notes
      Attn.: Michael A. Smith, Vice President     Phone: 303-262-0707
      2950 Express Drive South, Suite 210         Email:
      Islandia, New York 11749                    michael.smith2@computershare.com

5     SRAC Unsecured Notes                        Attn.: Mary A. Callahan, Vice President      Unsecured                                                              $185,564,300.00
      c/o The Bank of New York Mellon Trust Co.   Phone: 312-827-8546                            Notes
      Attn.: Mary A. Callahan, Vice President     Email: mary.callahan@bnymellon.com
      2 N. LaSalle Street, Suite 700
      Chicago, Illinois 60602

6     SRAC Unsecured PIK Notes                    Attn.: Mary A. Callahan, Vice President      Unsecured                                                              $107,872,763.00
      c/o The Bank of New York Mellon Trust Co.   Phone: 312-827-8546                            Notes
      Attn.: Mary A. Callahan, Vice President     Email: mary.callahan@bnymellon.com
      2 N. LaSalle Street, Suite 700
      Chicago, Illinois 60602




     Official Form 204                            List of Creditors Who Have the 40 Largest Unsecured Claims and Are Not Insiders                                        Page 1

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Name of creditor and complete mailing             Name, telephone number, and email          Nature of the      Indicate if   Amount of unsecured claim
address, including zip code                       address of creditor contact                  claim (for        claim is     If the claim is fully unsecured, fill in only unsecured
                                                                                             example, trade    contingent,    claim amount. If claim is partially secured, fill in
                                                                                               debts, bank    unliquidated,   total claim amount and deduction for value of
                                                                                                  loans,       or disputed    collateral or setoff to calculate unsecured claim.
                                                                                              professional
                                                                                              services, and
                                                                                              government
                                                                                                contracts)
7     Whirlpool Corporation                       Attn.: Aaron Spira                         Trade Payable                                                            $22,250,103.00
      Attn.: Aaron Spira                          Phone: 269-923-5000
      600 West Main Street                        Email: aaron_d_spira@whirlpool.com
      Benton Harbor, Michigan 49022-2692

8     WiniaDaewoo Electronics America             Attn.: Hyun Suk Choi, Esq.                 Trade Payable                                                            $15,535,537.00
      Attn.: Hyun Suk Choi, Esq.                  Phone: 212-695-0010
      c/o Choi & Park, LLC                        Email: hchoi@choiandpark.com
      11 Broadway, Suite 615
      New York, New York 10004
9     Cardinal Health                             Attn: Beth J. Rotenberg, Esq.              Trade Payable                                                            $15,348,095.00
      Attn: Beth J. Rotenberg, Esq.                     Scott A. Zuber, Esq.
            Scott A. Zuber, Esq.                  Phone: 973-325-1500
      c/o Chiesa Shahinian & Giantomasi PC        Email: brotenberg@csglaw.com
      One Boland Drive                                   szuber@csglaw.com
      West Orange, New Jersey 07052
10    Electrolux (Frigidaire Company)             Attn.: Alan Shaw                           Trade Payable                                                            $13,744,679.00
      Attn: Alan Shaw                             Phone: 786-388-6400
      703 Waterford Way, Suite 300                Email: alan.shaw@electrolux.com
      Miami, Florida 33126

11    Icon Health and Fitness Inc.                Attn.: Everett Smith                       Trade Payable                                                            $12,102,200.00
      Attn.: Everett Smith                        Phone: 877-993-7999
      1500 South 1000 West                        Email: esmith@iconfitness.com
      Logan, Utah 84321

12    Hangzhou Greatstar Industrial Co., Ltd.     Attn.: Kiah T. Ford IV, Esq.               Trade Payable                                                            $10,354,683.00
      (“Greatstar”)                               Phone: 704-372-9000
      Attn.: Kiah T. Ford IV, Esq.                Email: chipford@parkerpoe.com
      c/o Parker Poe Adams & Bernstein LLP
      401 South Tryon Street, Suite 3000
      Charlotte, North Carolina 28202
13    Hanesbrands Inc.                            Attn: Joia Johnson, Chief Administrative   Trade Payable                                                              $8,380,097.00
      Attn: Joia Johnson, Chief Administrative    Officer and General Counsel
      Officer and General Counsel                 Phone: 336-519-5360
      1000 East Hanes Mill Road                   Email: Joia.Johnson@hanes.com
      Winston Salem, North Carolina 27105
14    Paco (China) Garment Ltd.                   Attn.: Lily Wang                           Trade Payable                                                              $7,220,123.00
      Attn: Lily Wang                             Phone: 86-532-81978137
      No 9 Yueyang Road                           Email: lily@pacogarment.com
      Building B
      Qingdao, Shandong 266000
      China
15    Apex Tool International LLC                 Attn.: Jessica Chang                       Trade Payable                                                              $6,585,482.00
      Attn.: Jessica Chang                        Phone: 410-773-7800
      14600 York Road, Suite A                    Email:
      Sparks, Maryland 21152                      jessica.chang@apextoolgroup.com

16    Black & Decker US Inc.                      Attn.: Robin Z. Weyand, Assistant          Trade Payable                                                              $5,925,878.00
      Attn.: Robin Z. Weyand, Assistant General   General Counsel
      Counsel                                     Phone: 410-716-3625
      701 E. Joppa Road                           Email: robin.weyand@sbdinc.com
      Towson, Maryland 21286
17    Tata Consultancy Services Ltd.              Attn.: Ashish Gupta                        Trade Payable                                                              $5,761,976.00
      Attn.: Ashish Gupta                         Phone: 847-286-6667
      379 Thornal Street, 4th Floor               Email: ashish.gupta@searshc.com
      Edison, New Jersey 08837

18    Active Media Services Inc.                  Attn.: Lisa Brown                          Trade Payable                                                              $5,424,732.00
      Attn.: Lisa Brown                           Phone: 845-735-1700
      1 Blue Hill Plaza                           Email:
      Pearl River, New York 10965                 Lisa.Brown@activeinternational.com




     Official Form 204                            List of Creditors Who Have the 40 Largest Unsecured Claims and Are Not Insiders                                       Page 2

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Name of creditor and complete mailing           Name, telephone number, and email        Nature of the      Indicate if   Amount of unsecured claim
address, including zip code                     address of creditor contact                claim (for        claim is     If the claim is fully unsecured, fill in only unsecured
                                                                                         example, trade    contingent,    claim amount. If claim is partially secured, fill in
                                                                                           debts, bank    unliquidated,   total claim amount and deduction for value of
                                                                                              loans,       or disputed    collateral or setoff to calculate unsecured claim.
                                                                                          professional
                                                                                          services, and
                                                                                          government
                                                                                            contracts)
19    Automotive Rentals Inc.                   Attn: Brian S. McGrath, Esq.             Trade Payable                                                              $5,359,201.00
      Attn: Brian S. McGrath, Esq.                    Kristen D. Romano, Esq.
            Kristen D. Romano, Esq.             Phone: 646-362-4000
      c/o McGlinchey Stafford                   Email: bmcgrath@mcglinchey.com
      112 West 34th Street, Suite 1515                 kromano@mcglinchey.com
      New York, New York 10120
20    TJ Tianxing Kesheng Leather Products Co   Attn: Power Wang                         Trade Payable                                                              $4,857,704.00
      Ltd.                                      Phone: 86-22-29243522
      Attn: Power Wang                          Email: powerwangtxks@vip.126.com
      No. 2 Jianshe Road Baodi District
      Tianjin, Tianjin 301200
      China
21    MKK Enterprises Corp.                     Attn: President or General Counsel       Trade Payable                                                              $4,799,163.00
      Attn: President or General Counsel        Phone: 626-217-8245
      140 N Orange Avenue                       Email: rose@baldwinsun.com
      City of Industry, California 91744


22    LG Electronics USA Inc.                   Attn: Thomas Yoon                        Trade Payable                                                              $4,746,197.00
      Attn: Thomas Yoon                         Phone: 888-865-3026
      1000 Sylvan Avenue                        Email: thomas.yoon@lge.com
      Englewood Cliffs, New Jersey 07632


23    Feroza Garments Ltd.                      Attn: Nazrul Islam Mazumder              Trade Payable                                                              $4,614,975.00
      Attn: Nazrul Islam Mazumder               Phone: 88-XX-XXXXXXX
      3 Sujat NagarSultan Mansion, 2nd Floor    Email: nassa@nassagroup.org
      Mirpur, Dhaka
      Bangladesh

24    MTD Products Inc.                         Attn: Derek Kaesgen, Deputy General      Trade Payable                                                              $4,493,593.00
      Attn: Derek Kaesgen, Deputy General       Counsel
      Counsel                                   Phone: 330-558-7550
      5903 Grafton Road                         Email:
      Valley City, Ohio 44280-9329              derek.kaesgen@mtdproducts.com

25    Jordache Limited                          Attn: Cliff Lelonek, President           Trade Payable                                                              $4,381,183.00
      Attn: Cliff Lelonek, President            Phone: 212-944-1330
      1400 Broadway, 14th and 15th Floor        Email: clelonek@jordache.com
      New York, New York 10018-5336


26    City Choice Limited                       Attn: General Counsel                    Trade Payable                                                              $4,337,049.00
      Attn: Steve Meyers                        Phone: 852-27576068
      Unit 5 6/F Hong Leong Ind. Complex        Email: sukichan@solarxhk.com
      No 4 Wang Kwong Road                             terry@solarxhk.com
      Kowloon
      Hong Kong
27    Deloitte & Touche LLP                     Attn: Jim Berry, Partner                 Trade Payable                                                              $4,177,800.00
      Attn: Jim Berry, Partner                  Phone: 214-840-7360
      2200 Ross Avenue, Suite 1600              Email: jiberry@deloitte.com
      Dallas, Texas 75201


28    Thanh Cong Textile Garment Investment     Attn: Lee Jong                           Trade Payable                                                              $4,177,341.00
      Trading Joint Stock Company               Phone: 84 8 381 53962
      Attn: Lee Jong                            Email: leejm@thanhcong.com.vn
      36 Tay Thanh Street
      Tay Thanh Ward
      Tan Phu Dist
      Ho Chi Minh City 708500
      Vietnam
29    Cleva Hong Kong Ltd.                      Attn: Tammy Harvey                       Trade Payable                                                              $4,151,063.00
      Attn: Tammy Harvey                        Phone: 0086(0)512 8227 5805
      303 Des Voeux Road                        Email: tammy.harvey@cleva-na.com
      Central
      Hong Kong




     Official Form 204                          List of Creditors Who Have the 40 Largest Unsecured Claims and Are Not Insiders                                     Page 3

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Name of creditor and complete mailing             Name, telephone number, and email          Nature of the      Indicate if   Amount of unsecured claim
address, including zip code                       address of creditor contact                  claim (for        claim is     If the claim is fully unsecured, fill in only unsecured
                                                                                             example, trade    contingent,    claim amount. If claim is partially secured, fill in
                                                                                               debts, bank    unliquidated,   total claim amount and deduction for value of
                                                                                                  loans,       or disputed    collateral or setoff to calculate unsecured claim.
                                                                                              professional
                                                                                              services, and
                                                                                              government
                                                                                                contracts)
30    International Business Machine              Attn: Bruce E. Frierdich Counsel           Trade Payable                                                              $4,067,093.00
      Attn: Bruce E. Frierdich, Counsel           Phone:
      Legal Department - Chicago Office           Email: bfrierd@us.ibm.com
      Global Markets
      71 South Wacker Drive, Seventh Floor
      Chicago, Illinois 60606
31    Procter & Gamble Distributing               Attn: Deborah P. Majoras Chief Legal       Trade Payable                                                              $4,065,580.00
      Attn: Deborah P. Majoras, Chief Legal       Officer & Secretary
      Officer & Secretary                         Phone:
      One Procter & Gamble Plaza                  Email: Majoras.DP@pg.com
      Cincinnati, Ohio 45202

32    Mien Co, Ltd.                               Attn: President or General Counsel         Trade Payable                                                              $4,057,082.00
      Attn: Michelle Chan                         Phone: 00 852 93014248
      A5-B, Blk A,12/F, Hongkong Ind Centre       Email: michelle@mien-co.com
      489-491 Castle Peak Rd
      Lai Chi Kok, Kowloon
      Hong Kong
33    Eastern Prime Textile Limited               Attn: Carol Yim                            Trade Payable                                                              $3,413,816.00
      Attn: Carol Yim                             Phone: 86-769-83626002
      Unit F 10/F, King Win Fty Bldg              Email: carol@eastern-prime.com
      No. 65-67 King Yip St
      Kwun Tong, Kowloon
      Hong Kong
34    Weihai Lianqiao International Cooperation   Attn: Sarah Wong                           Trade Payable                                                              $3,044,370.00
      Group                                       Phone: 86 631 5678612
      Attn: Sarah Wong                            Email: sarah_wong@southocean.com
      No. 269, West Wenhua Road
      Hi-Tech Deve Zone
      Weihai
      China
35    BST International Fashion Limited           Attn: Emily Nip                            Trade Payable                                                              $2,966,541.00
      Attn: Emily Nip                             Phone: 852-3471 0600
      Suite 2301B                                 Email: enip@frontline-hk.com
      23/F Skyline Tower
      No.39 Wang Kwong Road
      Kowloon Bay
      Hong Kong
36    Winners Industry Company Limited            Attn.: Kitty Chow                          Trade Payable                                                              $2,964,394.00
      Attn.: Kitty Chow                           Phone: 0769-39016338
      Unit A, Wah Lung Building                   Email: kitty@winnersarts.com
      49-53 Wang Lung Street,
      Tsuen wan, New Territories
       Hong Kong
37    SITEL                                       Attn: Edward M. King, Esq.                 Trade Payable                                                              $2,849,008.00
      c/o Frost Brown Todd LLC                    Phone: 502-568-0359
      Attn: Edward M. King, Esq.                  Email: tking@fbtlaw.com
      400 West Market Street, Suite 3200
      Louisville, Kentucky 40202

38    Coyote                                      Attn: Jason Rice                           Trade Payable                                                              $2,734,955.00
      Attn: Jason Rice                            Phone: 847-295-2424
      2545 W. Diversey Avenue, 3rd Floor          Email: Jason.rice@coyote.com.
      Chicago, Illinois 60647


39    Chamberlain Manufacturing Corp.             Attn: Colleen M. O’Connor, VP Finance      Trade Payable                                                              $2,716,078.00
      Attn: Colleen M. O’Connor, VP Finance &     & Treasurer
      Treasurer                                   Phone: 630-530-6848
      300 Windsor Drive                           Email:
      Oak Brook, Illinois 60523-1510              colleen.oconnor@chamberlain.com
40    Knights Apparel Inc.                        Attn: Joia Johnson, Chief Administrative   Trade Payable                                                              $2,623,712.00
      Attn: Joia Johnson, Chief Administrative    Officer & General Counsel
      Officer & General Counsel                   Phone: 336-519-5360
      1000 East Hanes Mill Road                   Email: Joia.Johnson@hanes.com
      Winston Salem, North Carolina 27105




     Official Form 204                            List of Creditors Who Have the 40 Largest Unsecured Claims and Are Not Insiders                                       Page 4

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 Fill in this information to identify the case:

 Debtor name:  Sears Holdings Corporation et al.,
 United States Bankruptcy Court for the: Southern District of New York
                                                                   (State)
 Case number 18-23538 (RDD) (Jointly Administered)




Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors12/15
An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and
submit this form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the
document, and any amendments of those documents. This form must state the individual’s position or relationship to the debtor,
the identity of the document, and the date. Bankruptcy Rules 1008 and 9011.

WARNING – Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by
fraud in connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C.
§§ 152, 1341, 1519, and 3571.


               Declaration and signature



       I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the
       partnership; or another individual serving as a representative of the debtor in this case.
       I have examined the information in the documents checked below and I have a reasonable belief that the information is
       true and correct:
       ☐      Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)
       ☐      Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
       ☐      Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
       ☐      Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
       ☐      Schedule H: Codebtors (Official Form 206H)
       ☐      Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
       ☐      Amended Schedule ____
             Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 40 Largest Unsecured Claims and Are Not Insiders
              (Official Form 204)
       ☐      Other document that requires a declaration

       I declare under penalty of perjury that the foregoing is true and correct.


        Executed on October 18, 2018
                                                       /s/ Mohsin Y. Meghji
                       MM / DD / YYYY                   Signature of individual signing on behalf of debtor

                                                        Mohsin Y. Meghji
                                                        Printed name

                                                        Chief Restructuring Officer
                                                        Position or relationship to debtor




 Official Form 202                       Declaration Under Penalty of Perjury for Non-Individual Debtors

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